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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                               BILLINGS DIVISION


  ALVINJ. DUNCAN,
                                                    CV 24-02-BLG-SPW
                       Plaintiff,

  vs.                                                ORDER


  U.S. PRESIDENT ROBINETTE
  BIDEN,SHERIFF MIKE LINDER,
  SCOTT TWITO,

                        Defendants.

        Before the Court are various motions filed by Plaintiff between July 17, 2024,

and August 23, 2024, related to his ongoing attempt to invoke martial law in this

case. (Docs. 23,24,25, 26).

        Plaintiff appealed the Court's dismissal ofhis case on April 15, 2024, and the

Ninth Circuit docketed the case on April 19, 2024. (Docs. 11, 12). Since Plaintiff

has appealed the Court's decision on the same issues Plaintiff now raises in his

motions regarding martial law,the Court does not have jurisdiction over the matter.

See Griggs v. Provident Consumer Disc. Co.,459 U.S. 56,58(1982)("The general

rule is that once a notice of appeal has been filed the district court is divested of

jurisdiction over the matters being appealed."). Additionally, to the extent he asks

for extensions for briefing in his appeal, the Court cannot grant an extension in

another court's case. As such,the Court must deny the motions.
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